









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
September 11, 2003









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed September 11, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00877-CV

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&nbsp;

IN RE PHILLIP JOE BARNES , Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On August 11,2003, relator filed a petition for writ of mandamus in this
Court.&nbsp; See Tex. Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex.&nbsp; R.&nbsp;
App.&nbsp; P.&nbsp; 52.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Under
section 22.221(a)-(b), we have no power to grant mandamus relief against the
Attorney General in this case.&nbsp;
Accordingly, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed September 11, 2003.

Panel consists of
Justices Yates, Hudson, and Fowler.

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